                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION



VIRGINIA COALITION FOR IMMIGRANT
RIGHTS; LEAGUE OF WOMEN VOTERS OF
VIRGINIA; LEAGUE OF WOMEN VOTERS
OF VIRGINIA EDUCATION FUND,


       Plaintiffs,

               v.                                     Case No. 1:24-cv-01778

SUSAN BEALS, in her official capacity as
Virginia Commissioner of Elections; JOHN
O’BANNON, in his official capacity as
Chairman of the State Board of Elections;
ROSALYN R. DANCE, in her official capacity
as Vice-Chairman of the State Board of
Elections; GEORGIA ALVIS-LONG, in her
official capacity as Secretary of the State Board
of Elections; DONALD W. MERRICKS and
MATTHEW WEINSTEIN, in their official
capacities as members of the State Board of
Elections; and JASON MIYARES, in his official
capacity as Virginia Attorney General,

               Defendants.



        PLAINTIFFS’ EMERGENCY MOTION FOR EXPEDITED DISCOVERY

       Plaintiffs Virginia Coalition for Immigrant Rights (“VACIR”), League of Women Voters of

Virginia and League of Women Voters of Virginia Education Fund (together “LWVVA” or “the

League”) request expedited discovery that will support the efficient development of the evidentiary

record and aid the Court’s adjudication of a forthcoming motion for preliminary injunction on

Plaintiffs’ claims under the National Voter Registration Act (“NVRA”). See ECF No. 1. Plaintiffs
intend to file a motion for preliminary injunction imminently and seek relief as soon as possible

given the severe ongoing voter confusion and risk of further disenfranchisement caused by

Defendants’ program to systematically purge Virginians identified as potential noncitizens from

the voter rolls, including within the 90-day NVRA quiet period (the “Purge Program”).

       Accordingly, Plaintiffs request that this Court grant limited expedited discovery necessary

for rigorous evaluation of the likelihood of success on the merits and the public interest in enjoining

the Purge Program (described below). Specifically, Plaintiffs seek individualized voter

information 1 for each of the following voters and voter registration applicants (“Purge List”):

       (1)     The list of 6,303 registered voters referred to in Executive Order 35 (“E.O. 35”)

               that the Virginia Department of Elections (“ELECT”) identified and subjected to

               the Purge Program between January 2022 and July 2024;

       (2)     The registered voters ELECT has identified and subjected to the Purge Program

               since the announcement of E.O. 35;

       (3)     Voter registration applicants denied registration on the basis of alleged

               noncitizenship since instituting the Purge Program;

For each person identified as specified in (1), (2), and (3), each person’s data file shall include:

               (A)     the name of the agency that possessed information leading to the

                       individual’s inclusion on the Purge List (the originating agency);

               (B)     the means by which the originating agency received information that led to

                       the individual’s inclusion on the Purge List (e.g., the individual at one time


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         The identifying information for the people on the Purge List should include all information
kept within the Virginia voter file but, at minimum, full name, residential address, mailing address
(if different), date of birth, phone number (if available), voter ID number, any associated state-
issued ID numbers (such as driver’s license number), all registration dates including earliest and
most recent registration date, and race (if available).

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                      provided documentation to the originating agency indicating they were not

                      a citizen; the individual indicated they were not a citizen by checking a box

                      on an electronic form; etc.);

              (C)     the date that the originating agency received information that led to the

                      individual’s inclusion on the Purge List;

              (D)     the individual’s registration and voting history before and after being placed

                      on the Purge List, including but not limited to date of initial registration,

                      reason(s) for and date(s) of removal from the registration list, any

                      subsequent date(s) of registration, and voting history; and

              (E)     the individual’s current voter registration status, including whether (i)

                      currently inactive but not canceled, (ii) re-registered, (iii) canceled at the

                      individual’s request, or (iv) canceled by Defendants.

       Plaintiffs respectfully request the Court order immediate production of the above records,

which upon information and belief are already in Defendants’ possession and can be readily

produced, and which would enable Plaintiffs to attempt to mitigate the imminent

disenfranchisement of additional eligible voters who have been erroneously flagged for removal.

       Additionally, Plaintiffs seek:

       (4)    the Virginia voter file snapshot for August 7, 2024, and a current Virginia voter file

              snapshot and the date on which that snapshot was taken;

       (5)    any and all memoranda, policies, reports, data, summaries, correspondence, or

              similar documents relating to the development of the Purge Program;

       (6)    any and all memoranda, policies, reports, data, summaries, correspondence, or

              similar documents relating to the development of the Purge List, including any and



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               all data files provided by the Department of Motor Vehicles (“DMV”), the Office

               of the Attorney General of Virginia, the Offices of Commonwealth Attorneys, and

               any other federal, state, or local governmental agency that provided data for the

               development of the Purge List;

       (7)     any and all instructions, guidance, memoranda, policies, reports, data, summaries,

               training, correspondence, or similar documents developed by ELECT and sent to

               Boards of Registrars in implementation of the Purge Program;

       (8)     any and all memoranda, policies, reports, data, summaries, correspondence, or

               similar documents relating to the development of notice letters and enclosures sent

               by Defendants to registered voters on the Purge List;

       (9)     any and all records relating to the referral to law enforcement officials and/or the

               investigation by Defendant Miyares of any voter identified through the Purge

               Program; and

       (10)    three-hour depositions pursuant to Fed. R. Civ. P. 30(b)(6) of ELECT;

               Commissioner Beals; and the Office of the Attorney General. 2

       This narrowly tailored request will facilitate this Court’s evaluation of the Purge Program

on the expedited timeline necessitated by the ongoing election, which concludes on November 5.




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        These shorter, targeted depositions would be only for the limited purpose of expedited
discovery. By requesting these targeted depositions for expedited discovery, Plaintiffs do not waive
further, lengthier depositions as the litigation progresses.

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                                         BACKGROUND

       On August 7, 2024, Governor Youngkin signed E.O. 35, providing instructions for a voter

purge program of alleged noncitizens, relying on Va. Code § 24.2-427.1 E.O. 35 requires the

Commissioner of ELECT to certify to the governor that it has procedures in place to make daily

updates to the statewide voter registration list to “[r]emove individuals who are unable to verify

that they are [U.S.] citizens to the Department of Motor Vehicles[.]” E.O. 35 at 3-4; see also Va.

Code § 24.2-427(B)-(C). ELECT is further required to make those daily updates to the voter rolls

by comparing “the list of individuals who have been identified as noncitizens to the list of existing

registered voters[.]” E.O. 35 at 3-4. Once ELECT has identified these individuals, “registrars notify

any matches of their pending cancellation unless they affirm their citizenship within 14 days[,]”

and cancel the voter’s registration if the registrar’s office does not receive this affirmation with 14

days of sending the notice. Id.; see also Va. Code § 24-2.427(B)-(C). Accordingly, E.O. 35

affirmatively directs state agencies to identify and purge voters on a systematic and ongoing

basis—including within one month of the 2024 General Election—in direct violation of the 90-

day quiet period mandated by the NVRA. See id.; 52 U.S.C. § 20507(c)(2)(A). E.O. 35 further

demands the expedition of interagency data sharing between the DMV and ELECT via a daily file

of all alleged “non-citizens. transactions, including addresses and document numbers.” E.O. 35 at

4.

       As the existing evidence, including the directives in E.O. 35, make clear, the Purge Program

relies on erroneous data—from the DMV and perhaps other sources—that includes both

naturalized and U.S.-born citizens and is ongoing during the 90-day quiet period. To prevent

further harm from reaching active voters during an election, Plaintiffs request limited expedited

discovery.



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                                            ARGUMENT

          This Court has broad discretion to supervise and manage the timing of discovery, especially

where a request for a preliminary injunction provides good cause not to wait until the Rule 26(f)

conference to serve discovery requests. See Mey v. Phillips, 71 F.4th 203, 217 (4th Cir. 2023)

(citing Russell v. Absolute Collection Servs., Inc., 763 F.3d 385, 396 (4th Cir. 2014) (internal

citation omitted)); Fed. R. Civ. P. 26(d)(1) (permitting deviation from ordinary discovery schedule

when “authorized . . . by court order”); Advisory Committee Notes (“Discovery can begin earlier

if authorized . . . by . . . order . . . . This will be appropriate in some cases, such as those involving

requests for a preliminary injunction . . . .”); Fed. R. Civ. P. 30(a)(2), 33(a), 33(b)(2), and 34(b).

          Courts in this District “have applied differing standards when considering motions to

expedite discovery for a preliminary injunction.” Kia Motors Am., Inc v. Greenbrier GMC, Inc.,

No. 2:20CV428 (RCY), 2020 WL 8970813, at *2 (E.D. Va. Dec. 11, 2020). Many courts “apply a

more flexible ‘reasonableness’ or ‘good cause’ test,” which “tak[es] into account the totality of the

circumstances.” Id. (internal quotation marks omitted) (applying the good cause standard); see

also, e.g., Lapp v. United States, No. 1:23-CV-248 (MSN/LRV), 2023 WL 6193009, at *1 (E.D.

Va. Mar. 10, 2023) (finding “that there is good cause to allow Plaintiffs” to serve expedited tailored

subpoenas prior to a Rule 26(f) conference); RelaDyne Reliability Servs. Inc. v. Bronder, No.

2:20CV377, 2020 WL 5745801, at *1 (E.D. Va. Aug. 4, 2020) (applying the good cause standard

and allowing expedited discovery in advance of hearing on a preliminary injunction motion).

Courts applying the reasonableness or good cause test consider the following factors, among

others:

          (1) the procedural posture of the case; (2) whether the discovery at issue is
          narrowly tailored to obtain information that is probative to the preliminary
          injunction analysis; (3) whether the requesting party would be irreparably harmed
          by waiting until after the parties conduct their Rule 26(f) conference; and (4)

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       whether the documents or information sought through discovery will be
       unavailable in the future or are subject to destruction.

Kia Motors Am., Inc., 2020 WL 8970813, at *2.

       Alternatively, some courts follow “a minority approach” and apply a modified preliminary

injunction test to motions for expedited discovery that require the plaintiff to make “a strong

showing of [likelihood of success on the] merits and irreparable harm to Plaintiff.” ForceX, Inc. v.

Tech. Fusion, LLC, No. 4:11-cv-88, 2011 WL 2560110, at *4-5 (E.D. Va. June 27, 2011); see also

Kia Motors Am., Inc., 2020 WL 8970813, at *2 (same); Willis Towers Watson Se., Inc. v. Alliant

Ins. Servs., Inc., No. 3:23-CV-659-HEH, 2023 WL 9197745 (E.D. Va. Nov. 21, 2023) (granting

expedited discovery under the modified PI test); Malon v. Franklin Fin. Corp., No. 3:14CV671

HEH-RCY, 2014 WL 5795730, at *3 (E.D. Va. Nov. 6, 2014) (same). This standard requires the

plaintiff to show only that it “has made a sufficiently colorable claim” under its cause of action “to

justify limited expedited discovery.” Malon, 2014 WL 5795730, at *3

       As explained below, Plaintiffs’ request for expedited discovery satisfies either test.

I.     Plaintiffs’ Request for Expedited Discovery Is Reasonable and Supported by Good
       Cause

       Plaintiffs’ request for expedited discovery is reasonable and supported by good cause for

at least five independent reasons.

       A.      Plaintiffs’ Request Is Reasonable Given the Procedural Posture of the Case
               and the Impending General Election

       First, Plaintiffs intend to seek a preliminary injunction in short order, and the discovery

they seek on an expedited basis is necessary to obtain additional facts directly relevant to that

preliminary injunction motion as quickly as practicable, so that the Court may consider them in

deciding the motion. Cf., e.g., Lapp, 2023 WL 6193009, at *1 (granting expedited discovery given




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Plaintiff’s need to identify unknown individuals who should be named as defendants before the

statute of limitations expired).

        The need for expedited discovery and associated preliminary injunctive relief is urgent

because of the brief time remaining until the 2024 general election on November 5. Courts that

grant expedited discovery in cases involving voting and electoral issues recognize the need in this

particular context for fact-finding on an expedited time frame. See, e.g., Common Cause Ga. v.

Kemp, 347 F. Supp. 3d 1270, 1301 (N.D. Ga. 2018); People First of Ala. v. Merrill, 491 F. Supp.

3d 1076, 1143-44 (N.D. Ala. 2020).

        B.      Plaintiffs’ Request Is Reasonable Given Defendants’ Refusal to Produce the
                Information Sought in Response to Plaintiffs’ NVRA Records Requests

        Second, expedited discovery is also reasonable due to the secrecy of Defendants’ Purge

Program and Plaintiffs’ inability to obtain the information they seek elsewhere. Defendants have

not provided, either publicly or to Plaintiffs, the Purge List, critical information on the Purge

Program’s development, or critical information on the Purge Program’s implementation. This

evidence is important for evaluation of Plaintiffs’ preliminary injunction motion, both as to

likelihood of success on the merits and as to irreparable harm. Only Defendants, not Plaintiffs or

the Court, possess information as to the full contours of the Purge Program, such as (for example)

the full Purge List.

        In fact, Defendants have refused to provide Plaintiffs the information they now seek

through discovery despite Plaintiffs’ records requests under the NVRA and despite Defendants

having those records in their possession. The NVRA requires Defendants to maintain and make

available the documents Plaintiffs seek. The Public Disclosure of Voter Registration Activities

provision of the NVRA provides that states:




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       shall maintain for at least 2 years and shall make available for public inspection . .
       . all records concerning the implementation of programs and activities conducted
       for the purpose of ensuring the accuracy and currency of official lists of eligible
       voters, except to the extent that such records relate to a declination to register to
       vote or to the identity of a voter registration agency through which any particular
       voter is registered.

52 U.S.C. § 20507(i)(1). The Public Disclosure Provision covers individualized records for

registered voters subject to removal programs. See PILF v. N.C. State Board of Elections, 996 F.3d

257 (4th Cir. 2021); Project Vote/Voting for America, Inc. v. Long, 682 F.3d 331 (4th Cir. 2012);

see also 52 U.S.C. § 20507(i)(2).

       Since August 2024, Plaintiffs have submitted two NVRA records requests to Defendants.

First, on August 20, Plaintiff VACIR sent a letter to Defendant Beals, Defendant Miyares, the

DMV, and the Office of the Governor requesting copies of all records relating to the removal from

the voter registration rolls of Virginia registered voters on the basis that they have been identified

as a potential “non-citizen.” See ECF No. 2-6, Ex. 7. The request was made pursuant to the Public

Disclosure of Voter Registration Activities provision of the NVRA, 52 U.S.C. § 20507(i). In

response, Defendant Beals made only a limited initial production of responsive records, despite a

September 9 meeting between VACIR and Defendant Beals’s staff and numerous emails discussing

the specific records responsive to the request.

       Second, on October 3, 2024, all Plaintiffs sent a letter entitled “Notice of Violation of

National Voter Registration Act and Demand for Remediation and Documents” to Defendants

Beals and Miyares. See ECF No. 2-7, Ex. 8. That letter, which was sent pursuant to the NVRA (52

U.S.C. § 20510(b)(2)), informed Defendants Beals and Miyares that the Purge Program violates

three provisions of the NVRA. ELECT responded to that letter on October 7, 2024, asserting that

its “established voter list maintenance processes comply with all applicable state and federal laws”

and that it would wait on releasing the list of individuals cancelled due to being declared a non-

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citizen until after the election, despite having those records readily available as required by the

NVRA. See ECF No. 2-8, Ex. 9.

        In light of the context in which the Defendants have continued to refuse to provide relevant

and beneficial factual information despite the minimal burden associated with providing such

transparency, expedited discovery is appropriate. Plaintiffs have attempted to avail themselves of

this alternate route to obtain information on the Purge Program and Purge List, unsuccessfully, and

have no other means to obtain information about the Purge Program and Purge List directly

relevant to Plaintiffs’ claims.

        C.      Plaintiffs’ Request Is Reasonable Because It Is Narrowly Tailored to Obtain
                Information that Is Probative to the Preliminary Injunction Analysis

        Third, Plaintiffs’ request for expedited discovery is reasonable because it is narrowly

tailored in scope. On the one hand, the discovery sought is directly related to Plaintiffs’ NVRA

claims. On the other hand, the discovery Plaintiffs seek is not burdensome. Plaintiffs seek

documents relating to creation and implementation of the Purge Program. These documents are

already in Defendants’ possession and should not require an extensive search. The limited

expedited Rule 30(b)(6) depositions that Plaintiffs seek are minimally intrusive. The requested

discovery is also directly related to evidence Plaintiffs hope to present at an evidentiary hearing

on their anticipated motion for preliminary injunction. Both the requested documents and the

requested limited depositions will shed important light on the development and implementation of

the Purge Program that is important for this litigation—particularly given that early in-person

voting has already commenced and the general election will occur in just 28 days on November 5.




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       D.      Plaintiffs’ Request Is Reasonable Because the Balance of Equities Favors
               Plaintiffs and Their Request Is Aligned with the Public Interest

       Fourth, Plaintiffs request is also reasonable because it is aligned with the public interest in

voter list maintenance that is in accordance with law and in the protection of the fundamental right

to vote. The NVRA reflects the view of Congress that the right to vote “is a fundamental right,”

that government has a duty to “promote the exercise of that right,” and that discriminatory and

unfair registration laws can have a “direct and damaging effect on voter participation” and

“disproportionately harm voter participation by various groups, including racial minorities.”

Project Vote/Voting for Am., Inc. v. Long, 682 F.3d 331, 334 (4th Cir. 2012); 52 U.S.C. § 20501(a).

In respect of the fundamental interests at stake, the clear legal standards provided by the NVRA,

and the Defendants’ conduct in contravention of those standards, the public interest weighs in favor

of expedited discovery.

       E.      Plaintiffs’ Request Is Reasonable Because They Would Be Irreparably
               Harmed by Waiting Until After a Rule 26(f) Conference

       Fifth and finally, as explained in detail infra, Part II.B., Plaintiffs’ request is reasonable for

the additional reason that they would suffer irreparable harm by waiting until after the parties

conduct their Rule 26(f) conference for the discovery they seek.

                                           *       *       *

       In sum, Plaintiffs’ motion for expedited discovery should be granted because Plaintiffs’

discovery requests are reasonable and supported by good cause.




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II.    Plaintiffs’ Request for Expedited Discovery Also Satisfies the Minority Approach of
       Applying a Modified Preliminary Injunction Test

       Because Plaintiffs’ requests are reasonable and supported by good cause, the motion should

be granted. See, e.g., Lapp, 2023 WL 6193009, at *1; RelaDyne Reliability Servs. Inc., 2020 WL

5745801, at *1. But in the alternative, Plaintiffs’ motion also satisfies the minority approach

applied by some courts that looks to the first two preliminary injunction factors. See ForceX, Inc.,

2011 WL 2560110, at *4-5. As discussed above, under this approach, Plaintiffs need only show

that they “ha[ve] made a sufficiently colorable claim . . . to justify limited expedited discovery,”

Malon, 2014 WL 5795730, at *3, and not that they will ultimately prevail on their upcoming

preliminary injunction motion, since this discovery motion seeks evidence that will aid the Court’s

consideration of whether a preliminary injunction is warranted.

       A.      Likelihood of Success on the Merits

       Even pre-discovery, Plaintiffs’ complaint and its attached exhibits have made “a strong

showing” that Plaintiffs will likely succeed on the merits. ForceX, Inc., 2011 WL 2560110, at *4-

5; see ECF Nos, 1, 2, Exs. 2-8. As the Complaint details, the Purge Program violates the NVRA

because it (1) constitutes systematic voter list maintenance within 90 days preceding a federal

election; (2) discriminatorily identifies naturalized citizens for removal and is not being carried

out uniformly across local jurisdictions; and (3) requires voters to provide additional proof of U.S.

citizenship not required by the National Mail Voter Registration Application or voter registration

applications at the DMV and public assistance agencies in order to remain registered. See 52

U.S.C. §§ 20504(c), 20505(a), 20506(a), 20507(b); see also ECF No. 1 ¶¶ 67-80. Defendant Beals

has further violated the Public Disclosure of Voter Registration Activities provision of the NVRA,

52 U.S.C. § 20507(i), by refusing to provide Plaintiffs with the list of voters identified as potential




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noncitizens within a reasonable amount of time despite having those records in her office’s

possession. See ECF No. 1 ¶¶ 81-84.

       B.      Irreparable Harm

       As the complaint also demonstrates, the irreparable harm that Plaintiffs suffer is not only

likely, but current and ongoing. See ECF No. 1 ¶¶ 19-30. The Purge Program harms organizational

Plaintiffs VACIR and LWVVA directly by continuing to divert their resources away from their core

activities and directly harming their members. Instead of registering additional new voters and

providing programs for Virginia’s immigrant community, they have and will continue to spend

time and money (1) identifying new citizens, including those who have been targeted for removal

or purged; (2) educating the public, in particular new citizens, on how to respond to being targeted

for removal and ensuring that they remain registered or, if they were purged, how to reregister; (3)

assisting new citizens who have been targeted for removal with defending their registrations and

right to vote; (4) ensuring that any voters who are affected by the Purge Program who are required

to vote using a provisional ballot have their votes counted. It further harms Organizational

Plaintiffs because they have members who are naturalized citizens that are affected by the Purge

Program.

       Each day that Plaintiffs are denied relief is another election day in which their resources

are drained and their members are harmed by the illegal conduct of Defendants. As the election

window dwindles, Plaintiffs will never be able to fully reclaim the resources originally devoted

towards accomplishing their core missions. This irreparable damage will increase exponentially

over time as the most important days for Plaintiffs’ core activities, which are closest to the election,

are occupied by the Purge Program and its effects. Plaintiffs’ members continue to suffer burdens

on their fundamental right to vote during the election window under the threat of criminal



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prosecution and are encumbered from being able to vote early like any other citizen. To stop further

irreparable injury to Plaintiffs during this election, swift discovery is necessary to provide

immediate clarity to voters’ registration statuses and their ability to participate in the 2024 election.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court grant the motion

for expedited discovery.



Date: October 8, 2024                                    Respectfully submitted,

                                                       /s/ Shanna Ports
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*Motions for admission or pro hac vice
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